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5
                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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8

9    UNITED STATES OF AMERICA,           No. 2:99-cr-433-01 WBS

10                Plaintiff,             ORDER

11       v.

12   JOHN THAT LUONG,

13                Defendant.

14

15       Good cause appearing, the court accepts defendant John

16   Luong’s waiver of appearance for resentencing proceedings and
17
     directs the United States Attorney’s Office to make arrangements
18
     to have Mr. Luong returned to federal prison.
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         IT IS SO ORDERED.
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         Dated:    May 19, 2016
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